900 F.2d 253Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mrs. Buddy MASON, Plaintiff-Appellant,andMrs. Eddie Bullion;  Mrs. Chris Royal;  Elizabeth Smith, Plaintiffs,v.Mary Sue TERRY;  Edward Murray;  R.A. Young;  W.D.Blankenship;  P.L. Huffman;  D.L. Smith;  W.P.Ellison;  W.M. Muncie;  R.G. Meadows;S. Montgomery;  B.J. Hickman;C. Enoch,Defendants-Appellees.
    No. 89-6319.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 5, 1990.Decided March 20, 1990.Rehearing Denied May 15, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (C/A No. 88-120-R).
      Buddy Mason, appellant pro se.
      Alan Katz, Office of the Attorney General of Virginia, Richmond, for appellees.
      W.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Mrs. Buddy Mason appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Mason v. Terry, C/A No. 88-120-R (W.D.Va. Sept. 25, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    